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                        UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

In Re:                                       )
                                             )             Chapter 7
JASON C. ODOM                                )
                                             )
                                             )             Case No. 14-20553
                                             )
         Debtor.                             )
                                             )             Honorable Jacqueline P. Cox


                                    NOTICE OF MOTION

         To: Pierce & Associates, 1 North Dearborn, Suite 1300, Chicago, IL 60602 (via Certified
             U.S. Mail)
             PennyMac Holdings, LLC, 3043 Townsgate Road, Suite 310, Westlake Village, CA
             91361 (via Certified U.S. Mail)
             PennyMac Holdings, LLC c/o registered agent CT Corporation System, 208 S.
             LaSalle Street, Suite 814, Chicago, IL 60604 (via Certified U.S. Mail)
             Catherine L. Steege, Chapter 13 Trustee (via ECF)

      PLEASE TAKE NOTICE that on April 20, 2021, at 01:00 PM, I will appear before the
Honorable Jacqueline P. Cox, or any Judge sitting in her place, and present DEBTOR’S
MOTION FOR CIVIL CONTEMPT AND SANCTIONS FOR VIOLATIONS OF THE
DISCHARGE INJUNCTION, a copy of which is attached.

       This Motion will be presented and heard electronically using Zoom for Government.
No personal appearance in court is necessary or permitted. To appear and be heard on the motion,
you must do the following:

      To appear by video, use this link: https://www.zoomgov.com/. (2) Enter the meeting ID
1612732896. (3) Enter the passcode 778135.

       To appear by telephone, call Zoom for Government at 1-669-254-5252 or 1-646-828-
7666. (2) Enter the meeting ID 1612732896. (3) Enter passcode 778135.

         When prompted identify yourself by stating your full name.

      To reach Judge Cox’s web page go to www.ilnb.uscourts.gov and click on the tab for
Judges.
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        If you object to this motion and want it called on the presentment date above, you must
file a Notice of Objection no later than two (2) business days before that date. If a Notice of
Objection is timely filed, the Motion will be called on the presentment date. If no Notice of
Objection is timely filed, the court may grant the motion in advance without hearing.

                                                            JASON C. ODOM

                                                            By: Mohammed O. Badwan

                                                            Mohammed O. Badwan, Esq.
                                                            Counsel for Debtor
                                                            Sulaiman Law Group, Ltd.
                                                            2500 S. Highland Ave., Suite 250
                                                            Lombard, IL 60148
                                                            Phone (630) 575-8180
                                                            mbadwan@sulaimanlaw.com



                                CERTIFICATE OF SERVICE

       I, Mohammed O. Badwan, certify/declare under penalty of perjury under the laws of the
United States of America that I served a copy of this notice and the attached motion on each entity
shown on this notice at the address shown and by the method indicated on the notice on April 6,
2021, at 11:00 a.m.
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                        UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

In Re:                                         )
                                               )               Chapter 7
JASON C. ODOM                                  )
                                               )
                                               )               Case No. 14-20553
                                               )
         Debtor.                               )
                                               )               Honorable Jacqueline P. Cox

DEBTOR’S MOTION FOR CIVIL CONTEMPT AND SANCTIONS FOR VIOLATIONS
                  OF THE DISCHARGE INJUNCTION

         NOW COMES Debtor, JASON C. ODOM (“Debtor”), by and through his undersigned

counsel, and pursuant to 11 U.S.C. §524, 11 U.S.C. §105, Fed. R. Bankr. P. 9020, and Fed. R.

Bankr. P. 9014, bringing the instant Motion for Civil Contempt and Sanctions for Violations of

the Discharge Injunction against PENNYMAC HOLDINGS, LLC and PIERCE & ASSOCIATES

(collectively, “Resopndents”) as follows:

                                  NATURE OF THE MOTION

         1.    Debtor received a Chapter 7 discharge in May 2014. In March 2021, nearly seven

years after his bankruptcy discharge, the Debtor discovered that PennyMac Holding, LLC, through

its attorneys Pierce & Associates, attached a judgment lien on his principal residence arising from

a mortgage debt that was discharged in the Debtor’s 2014 bankruptcy. The judgment lien has

clouded the title of the Debtor’s principal residence and has frustrated the sale of Debtor’s principal

residence. The Debtor brings this motion to (1) compel Respondents to release the judgment lien

and (2) seek redress for Respondents’ willful violations of the Bankruptcy Discharge Injunction.
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       2.      “A proceeding to enforce the discharge order and adjudicate a violation thereof falls

within a bankruptcy court’s core jurisdiction.” Vazquez v. Sears, Roebuck & Co. (In re Vazquez),

221 B.R. 222, 227 (N.D. Ill. 1998).

                                 FACTUAL BACKGROUND

       3.      In March 2007, Debtor and his wife executed a mortgage (“subject mortgage”) in

favor of Countrywide Home Loans Servicing , LP (“Countrywide”).

       4.      The subject mortgage secured the purchase of an investment property located at

1347 W. Ancona Street, Unit 1, Chicago, IL 60642 (“subject property”).

       5.      The subject mortgage secured the repayment of a mortgage loan issued to Debtor

to fund the purchase of the subject property (“subject loan”).

       6.      At some point in time, PennyMac Holdings, LLC (“PennyMac Holdings”) acquired

the subject loan.

       7.      After PennyMac Holdings acquired the subject loan, PennyMac Loan Services

LLC (“PennyMac Loan Services”) became the servicer for the subject loan.

       8.      At all times relevant, PennyMac Loan Services was an agent of PennyMac

Holdings.

       9.      On December 31, 2013, PennyMac Holdings, through its counsel, Pierce &

Associates (“Pierce”), initiated mortgage foreclosure proceedings against Debtor and the subject

property in the Circuit Court of Cook County, Case No. 2013-CH-28538 (“foreclosure case”).

       10.     On May 30, 2014, Debtor filed a Chapter 7 bankruptcy in the United States

Bankruptcy Court for the Northern District of Illinois, case No. 14-20553. [Dkt. 1].

       11.     On Schedule A of the Debtor’s bankruptcy petition, Debtor listed his interest in the

subject property. See Exhibit A attached hereto, a true and correct copy of Debtor’s Schedule A.
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       12.      Debtor’s Schedule A also disclosed the Debtor’s interest in his principal residence

located at 79 Bluff Avenue, LaGrange, IL 60525 (“principal residence”).

       13.      On Schedule D of the Debtor’s bankruptcy petition, the Debtor listed the subject

mortgage in favor of PennyMac Loan Services. See Exhibit B attached hereto, a true and correct

copy of Debtor’s Schedule D.

       14.      On June 5, 2014, the Bankruptcy Noticing Center (“BNC”) served PennyMac Loan

Services and Pierce with notice of Debtor’s bankruptcy. See Exhibit C attached hereto, a true and

correct copy of the BNC’s Certificate of Notice.

       15.      On June 15, 2014, PennyMac Loan Services, through its counsel, filed a “Request

for Services of Notices.” [Dkt. 10]

       16.      On August 26, 2014, the Chapter 7 Trustee issued a no asset report. [Dkt. 15]

       17.      On September 16, 2014, the Bankruptcy Court issued a Discharge Order granting

the Debtor a discharge pursuant to 11 U.S.C. §727 [Dkt. 16]. See Exhibit D attached hereto, a true

and correct copy of the Discharge Order.

       18.      The Discharge Order, inter alia, extinguished Debtor’s personal liability on the

subject loan.

       19.      On September 18, 2014, the BNC served PennyMac Loan Services and Pierce with

the Discharge Order [Dkt. 18]. See Exhibit E attached hereto, a true and correct copy of the BNC’s

Certificate of Notice.

       20.      On April 14, 2015, a Judgment of Foreclosure was entered in favor of PennyMac

Holdings in the foreclosure case.
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       21.     Unbeknownst to the Debtor, PennyMac Holdings, through Pierce, sought a

personal deficiency judgment against Debtor despite the fact that the Debtor’s personal liability

on the subject loan was discharged in Debtor’s bankruptcy.

       22.     On September 1, 2015, an “Order Approving Report of Sale and Distribution,

Confirming Sale and Order of Possession, Order Finding Personal Deficiency” was entered in the

foreclosure case (“Personal Deficiency Judgment”). See Exhibit F attached hereto, a true and

correct copy of the Personal Deficiency Judgment.

       23.     The Personal Deficiency Judgment reflects that PennyMac Holdings, through

Pierce, sought and obtained a personal deficiency judgment against the Debtor in the amount of

$79,895.38. Id.

       24.     On October 2, 2015, PennyMac Holdings, through Pierce, encumbered Plaintiff’s

principal residence by recording the Personal Deficiency Judgment with the Cook County

Recorder of Deeds. See Exhibit G attached hereto, a true and correct copy of the recorded Personal

Deficiency Judgment.

                                           DAMAGES

       25.     In March 2021, the Debtor was in the process of selling his principal residence

when he discovered that his principal residence is encumbered by the Personal Deficiency

Judgment.

       26.     As a result of the encumbrance, Debtor suffered significant emotional distress and

anxiety as the Debtor was led to believe that his bankruptcy discharge had no legal effect and that

he is personally liable for the $78,895.38 Personal Deficiency Judgment.

       27.     Moreover, the encumbrance frustrated the pending sale of the Debtor’s principal

residence. Specifically, the Debtor is currently in imminent risk of losing the buyers as a result of
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the significant delays caused by the unlawful Personal Deficiency Judgment encumbering his

personal residence.

       28.     The Debtor will suffer irreparable harm if the unlawful Personal Deficiency

Judgment is not promptly released as Debtor is facing an imminent risk of losing the buyers, which

would derail the pending sale of the Debtor’s principal residence.

       29.     The Debtor has spent countless hours collaborating with his attorneys and real

estate agent regarding the Personal Deficiency Judgment and the havoc it has caused on the

pending sale of his principal residence.

       30.     Debtor has been and continues to be significantly harmed by Respondents’ civil

contempt of the Discharge Order.

                                           ARGUMENT

       I.      PennyMac Holdings and Pierce Should Be Sanctioned for their Willful
               Violations of the Discharge Order

       31.     “The principal purpose of the Bankruptcy Code is to grant a ‘fresh start’ to the

‘honest but unfortunate debtor.’” Marrama v. Citizens Bank of Mass., 549 U.S. 365, 367 (2007).

       32.     “The heart of bankruptcy law is the bankruptcy discharge, affording a fresh start by

relieving the debtor of liability for certain pre-petition debts.” In re Lempesis, 557 B.R. 659, 664

(Bankr. N.D. Ill. 2016).

       33.     A discharge order “operates as an injunction” against acts to collect discharged

debts. 11 U.S.C. §524(a)(2).

       34.     “The discharge order is a permanent injunction that provides the debtor with

protection that survives the bankruptcy. This injunction is forever applicable to every debt that was

discharged by the bankruptcy.” In re Lempesis, 557 B.R. 659, 664 (Bankr. N.D. Ill. 2016).
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         35.   “Section 105(a) of the Bankruptcy Code does provide the court with authority to

enforce the discharge order.” Wiley v. Mason (In re Wiley), 224 B.R. 58, 66 (Bankr. N.D. Ill.

1998).

         36.   A creditor that attempts to collect a discharged debt is “in contempt of the

bankruptcy court that issued the order of discharge.” Cox v. Zale Del., Inc., 239 F.3d 910, 915 (7th

Cir. 2001).

         37.    “A violation of the discharge injunction must be willful to warrant a finding of

civil contempt and sanctions. ‘Willful’ requires that the creditor knows about the discharge

injunction and intends to commit the acts that violate the injunction. Daniel Goodman, LLC v.

Montgomery (In re Montgomery), 2013 U.S. Dist. LEXIS 66231, *11 (N.D. Ill. 2013).

         38.    “Bankruptcy courts have the authority to award remedial and compensatory

damages in the form of sanctions for violations of the discharge injunction.” Romanucci &

Blandin, LLC v. Lempesis, 2017 U.S. Dist. LEXIS 71526, at *16-17 (N.D. Ill. 2017).

         39.   “The law is clear that punitive damages may be awarded for violations of the

discharge injunction.” Saccameno v. Ocwen Loan Servicing, 2017 U.S. Dist. LEXIS 185427, at

*23 (N.D. Ill. 2017).

         40.   “Relevant factors that may be considered in determining whether punitive

damages are appropriate for a creditor’s violation of the automatic stay (and equally applicable for

violations of the discharge injunction) are: (1) the nature of the creditor’s conduct; (2) the

creditor’s ability to pay damages; (3) the motive of the creditor; and (4) any provocation by the

debtor.” Vazquez v. Sears, Roebuck & Co. (In re Vazquez), 221 B.R. 222, 231 (Bankr. N.D. Ill.

1998).
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       41.     “A creditor and its attorney are jointly and severally liable for their violations of

the discharge injunction because under general principles of agency law, an agent whose tortious

conduct renders the principal liable is also liable for his own tortious acts.” Vazquez v. Sears,

Roebuck & Co. (In re Vazquez), 221 B.R. 222, 230 (N.D. Ill. 1998).

       42.     Here, there is no question that Respondents had actual knowledge of the Debtor’s

bankruptcy filing and subject discharge.

       43.     Specifically, PennyMac Loan Services and Pierce were both served with the notice

of the bankruptcy filing and Discharge Order by the BNC. See Exhibits C and E.

       44.     Moreover, PennyMac Loan Services actively participated in the Debtor’s

bankruptcy by filing a Request for Services of Notices. [Dkt. 10]

       45.     PennyMac Loan Services’ knowledge of the Debtor’s bankruptcy filing and

subsequent discharge is imputed on its principal PennyMac Holdings. See Evanston Bank v.

Conticommodity Servs., 623 F. Supp. 1014, 1034 (N.D. Ill. 1985) (“An agent’s knowledge is

generally imputed to his principal if it is received while he is acting within the scope of his agency

and concerns a matter within the scope of his authority”).

       46.     Despite having actual knowledge that the Debtor’s personal liability on the subject

loan was discharged, Respondents brazenly violated the discharge injunction by (1) seeking and

obtaining a personal deficiency judgment against the Debtor in the amount of $78,895.38, and (2)

encumbering the Debtor’s principal residence by recording the Personal Deficiency Judgment with

the Cook County Recorder of Deeds.

       47.     Respondents’ contempt of the Discharge Order is especially egregious in light of

the fact that Respondents received notice of the Debtor’s bankruptcy on at least four separate

occasions through the BNC.
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         48.   As set forth above, the Debtor has suffered and continues to suffer significant

damages as a result of Respondents’ willful violations of the discharge injunction.

         49.   Punitive damages are appropriate because Respondents brazenly continued their

efforts to collect the subject loan after they had actual knowledge of the discharge injunction.

         50.   The totality of circumstances demonstrates that Respondents’ conduct was willful

and that punitive damages are warranted.

         51.   Courts have repeatedly assessed punitive damages against mortgage companies for

willful violations of the discharge injunction. See e.g. In re Adams, 2010 Bankr. LEXIS 2207, *11

(Bankr. E.D. N.C. 2010) (assessing punitive damages against a mortgage company in the amount

$66,300.00 for its willful violations of the discharge injunction); In re Perviz, 302 B.R. 357, 374

(Bankr. N.D. Ohio 2003) (assessing punitive damages against a mortgage company for its willful

violations of the discharge injunction); In re Phillips, 2012 Bankr. LEXIS 1042, *13 (Bankr. N.D.

Ohio 2012) (assessing punitive damages against a mortgage company for its willful violations of

the discharge injunction).

         52.   Moreover, courts in this district have also assessed punitive damages against a

creditor’s attorneys for willful violations of the discharge injunction. See e.g. In re Lempesis, 557

B.R. 659, 670 (Bankr. N.D. Ill. 2016) (assessing $50,000.00 in punitive damages against a

creditor’s attorneys for willful violations of the discharge injunction).

         53.   Based on the foregoing, the Court should award the Debtor compensatory damages

and punitive damages for Respondents’ callous disregard of the discharge injunction and the

bankruptcy process in general. See 11 U.S.C. §105 (the Bankruptcy Court “may issue any order,

process, or judgment that is necessary or appropriate to carry out the provisions” of the Bankruptcy

Code).
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        WHEREFORE, pursuant to 11 U.S.C. §105, the Debtor respectfully requests the

following relief:

        a.   An order finding that PennyMac Holdings, LLC and Pierce & Associates willfully
             violated the bankruptcy discharge injunction [Dkt. 16].

        b.   An order finding that PennyMac Holdings, LLC and Pierce & Associates are in civil
             contempt of the Discharge Order [Dkt. 16].

        c.   An order compelling Respondents to promptly release the judgment lien, Doc No.
             1527518101, encumbering Debtor’s principal residence located at 79 Bluff Avenue,
             LaGrange, IL 60525.

        d.   An order assessing $5,000.00 in sanctions against Respondents for each day that
             Respondents fail to release the judgment lien after they are served with instant motion.

        e.   An order enjoining PennyMac Holdings, LLC and Pierce & Associates from further
             attempts to collect the subject loan.

        f.   An award of compensatory damages in an amount to be determined by the Court after
             an evidentiary hearing.

        g.   An award of punitive damages to be determined by the Court after an evidentiary
             hearing.

        h.   An award of Debtor’s reasonable attorney’s fees and costs.

        i.   Any further relief that the Court may deem just and proper.



    Dated: April 6, 2021                                      Respectfully Submitted,
                                                              /s/ Mohammed O. Badwan
                                                              Mohammed O. Badwan, Esq.
                                                              Counsel for Debtor
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